                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                                 SHELBY DIVISION

In Re:

JUAN JOSE CORCHADO                                    Case No. 17-40025
SSN: xxx xx 5723                                      Chapter 7
352 Ramano Drive
Iron Station, NC 28080

                Debtor.


              REPORT OF PUBLIC SALE AND MOTION FOR CONFIRMATION

TO:      THE UNITED STATES BANKRUPTCY JUDGE:

        Frederick L. Henderson Jr., the chapter 7 trustee (the "Trustee") of the estate for the above-
captioned debtor, does hereby report concerning the public sale of property of this estate pursuant
to this Court's Order Authorizing Public Sale entered April 23, 2018 (Doc. 48), as follows:

         1.     Via online public sale from Thursday, April 26, 2018, through Saturday, May 5,
                2018, at 2 p.m. EST, the Trustee sold a 2015 Nissan Frontier with VIN ending
                “6785" for the sum of $13,000.00.

         2.     The buyer paid an additional 3% premium of $390.00 directly to Proxibid (Online
                Provider).

         3.     The expenses incurred in connection with the aforesaid public auction are within
                the amounts allowed by the Court’s Order Authorizing Public Sale and are as
                follows:

                       $400.00 Proxibid and Advertising
                       $475.00 Towing Expense
                       $25.00 Clean up / Video

                Said expenses total the sum of $900.00.

         4.     The Trustee proposes the following disbursements in payment of certain other sale
                expenses as previously allowed by the Court’s Order Authorizing Public Sale:

                       $1,950.00 Commission to Gary Boyd Auction at 15%
       5.     The aggregate price obtained, in the opinion of the Trustee, was entirely adequate
              and another sale would not have produced better results.

       6.     Attached hereto is a true and complete copy of the auctioneer’s final invoice listing
              the item sold, amount received, expenses incurred, and commission.

       7.     In the Order Authorizing Public Sale (Doc. 48), the Court authorized the Trustee to
              pay Gary Boyd of Gary Boyd Auction & Real Estate from the sale proceeds
              reimbursement of expenses totaling up to $1,350.00 and commission in the sum of
              15% of the gross proceeds.

        WHEREFORE, the Trustee moves that the aforesaid sale and authorized disbursements
of the Trustee for auction expenses and commission be confirmed, and for such other and further
authority or relief as the Court deems necessary.


Dated: 5/14/2018                             /s/ Frederick L. Henderson Jr.
                                            Wayne Sigmon, NC Bar #7318
                                            Frederick L. Henderson, Jr., NC Bar #43586
                                            Sigmon & Henderson, PLLC
                                            518 South New Hope Road
                                            Gastonia, North Carolina 28054
                                            p: (704) 865-6265 / f: (704) 874-1300
                                            Attorneys for the Trustee
                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the pleading or paper to which this Certificate is affixed was
served upon the other party(s) to this action by hand delivery or by depositing a copy of same,
enclosed in a first-class postpaid wrapper properly addressed to the attorney(s) of record for such
other party(s), in a post office or official depository under the exclusive care and custody of the
United States Postal Service or by the Court’s Electronic Case Filing system this the 14th day of
May, 2018.

                                                     /s/ Frederick L. Henderson Jr.
                                                     Frederick L. Henderson Jr., Attorney

VIA ECF:

Shelley Abel                          Beth Carter
Bankruptcy Administrator              Attorney for the Debtor
